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UNITED STATES DISTRICT COURT
DENVER; COLORADO

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THE UNITED STATES DISTRICT COURT DEC 22 2017

FOR THE DISTRICT OF COLORADO JEFFREY P. COLWELL

 

Civil Action No. 16-cv-00895-LTB

JASON BROOKS

Applicant,
V.

LOU ARCHULETTA, Warden of the Fremont Correctional Facility, and
CYNTHIA COFFMAN, Attorney General of the State of Colorado

Respondents.

 

NOTICE OF APPEAL

 

Notice is hereby given that Applicant, Jason Brooks, pro, se, in the above named case,
hereby appeals to the United States Court of Appeals for the Tenth Circuit from the ORDER
DENYING MOTION FOR RELIEF FROM FINAL JUDGMENT entered in this action
December 14", 2017. The appeal will contest this Court’s abuse of discretion.

Respectfully submitted this 19 day of December, 2017,

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Jason Brooks #150014
Fremont Correctional Facility
P.O. Box 999

Canon City, CO 81215
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CERTIFICATE OF SERVICE

I certify that on this 19 day of December, 2017, that a true and correct copy of the above
and foregoing NOTICE OF APPEAL was deposited in the U.S. Mail, postage pre-paid,
addressed to the Court and the Attorney General at his public address and the following:

Lou Archuletta, Warden Colorado Attorney General
Fremont Correctional Facility 1300 Broadway, 10 Floor
P.O. Box 999 Denver, CO 80203

Canon City, CO 81215

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